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AO 442 (Rev. 11/11) Arrest Warrant (approved by AUSA Seth Schlessinger

 

UNITED STATES DISTRICT COURT
for the

Eastern District of Pennsylvania
United States of America

 

V. )
) CaseNo. (q- [11S 1-™
Sharif El-Battouty )
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

(name of person to be arrested)

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
Sharif El-Battouty

who is accused of an offense or violation based on the following document filed with the court:
1 Indictment

 

C1 Superseding Indictment

O Information
O Probation Violation Petition

 

 

 

 

 

 

C1 Superseding Information a Complaint
O Supervised Release Violation Petition O Violation Notice O Order ofthe Court
> = a
This offense is briefly described as follows: au = 3
ma ce »
Engaging in Child Exploitation Enterprise, in violation of 18 U.S.C. § 2252A(q). Zo S an
Ae mm Me
<o @ me
wh
rx Op
a 3 &
a = ee
ra Te
ya
Date: 07/18/2018 te ‘ =
iy Issuing officer’s signature
City and state: Philadelphia, Pennsylvania Hon. Lynne A. Sitarski, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) 7-/ ¥ f , and the person was arrested on (date) FI - AE
at (city and state) 1 .
=)
Date: ~/-/ 5-1 v

BBL

Arresting officer’s signature

 

 

Printed name and title

 

 
